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April 3, 2019

Via ECF Fz`lz'ng and FedEx

Hon. Joseph A. Dickson, U.S.M.J.

United States District Court for the District ofNew Jersey
Martin Luther King Building & U.S. Courthouse

50 Walnut Street

Courtroom MLK ZD

Newark, New Jersey 07102

 

Re: Ever Bedoya, et al. v. American Eagle Express, Inc.
Docket No. 2:14-cv-02811-ES-JAD

Dear Judge Dickson:

The parties submit this joint letter to provide the Court with a status update in the
above-referenced matter. Defendant, American Eagle Express, Inc., has decided to file a Petition
to the United States Supreme Court, seeking review of the Third Circuit’s decision, which affirms
the District Court’s denial of Defendant’s Motion for Judgment on the Pleadings. The Petition is
due to be filed with the United States Supreme Court no later than April 29, 2019. Upon the filing
of this Petition, Defendant will file a motion to stay the proceedings in the District Court, pending
the conclusion of the Supreme Court proceedings

Counsel for Defendant has conferred With counsel for Plaintiffs on these
issues. Counsel for Plaintiffs have indicated that Plaintiffs will not consent to the stay in the
District Court. Rather, Plaintiffs will ask the District Couit to set a schedule to move the
proceedings forward on their anticipated motion for class certification and the merits, irrespective
of the Supreme Court Petition. Specifically, Plaintiffs would request that the Court set a deadline
for their class certification motion that is either (i) three months after the Court rules on
Defendant’s motion to stay; or (ii) July 26, 2019. Such a schedule will allow Plaintiff`s to complete
the remaining discovery for their class certification motion.

Respectfully submitted,
J'ACKSON LEWIS P.C.
/s/ Joseph C. DeBlasz`o

Joseph C. DeBlasio
JCD/KMD

